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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




PERKINS COIE LLP,

                         Plaintiff,        Case No. 25-716 (BAH)

                  v.

U.S. DEPARTMENT OF JUSTICE, et al.,

                         Defendants.



 BRIEF OF AMICI CURIAE OF THE AMERICAN CIVIL LIBERTIES UNION, THE
 AMERICAN CIVIL LIBERTIES UNION OF THE DISTRICT OF COLUMBIA, THE
     CATO INSTITUTE, THE ELECTRONIC FRONTIER FOUNDATION, THE
 FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION, THE INSTITUTE
  FOR JUSTICE, THE KNIGHT FIRST AMENDMENT INSTITUTE AT COLUMBIA
    UNIVERSITY, THE NATIONAL COALITION AGAINST CENSORSHIP, THE
     REPORTERS COMMITTEE FOR THE FREEDOM OF THE PRESS, THE
    RUTHERFORD INSTITUTE, AND THE SOCIETY FOR THE RULE OF LAW
INSTITUTE IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       President Trump has singled out one of the nation’s largest law firms for serious, potentially

business-ending sanctions by executive fiat, citing the firm’s past representation of his political

opponents and its “partisan lawsuits against the United States.” The President’s action violates

fundamental First Amendment freedoms and other constitutional protections. More generally, it is

an attack on the independence of the legal profession. In the weeks since this Court issued its

temporary restraining order, President Trump has signed executive orders imposing similar

sanctions on several other law firms. 1 The fallout from these assaults on the bar may not be limited

to lawyers who represent clients or causes that are perceived as hostile to President Trump; the

precedent created here could be used by future presidents, of either party, to chill advocacy hostile

to their policies or executive branch officials. If allowed to stand, these pressure tactics will have

broad and lasting impacts on Americans’ ability to retain legal counsel in important matters, to

arrange their business and personal affairs as they like, and to speak their minds.

       Amici are legal advocacy organizations from across the ideological spectrum that have in

common an abiding commitment to the Constitution and the liberties it protects. We write to set

out the ways in which the First Amendment, the separation of powers, and due process rights

prohibit the President’s order sanctioning Perkins Coie LLP for its protected legal advocacy.




1
 See Exec. Order No. 14237, 90 Fed. Reg. 13039, “Addressing Risks from Paul Weiss,” (Mar. 14,
2025); Exec. Order No. 14246, 90 Fed. Reg. 13997, “Addressing Risks from Jenner & Block,”
(Mar. 25, 2025); Exec. Order, “Addressing Risks from Wilmer Hale,” (Mar. 27, 2025). President
Trump revoked the Paul Weiss Executive Order pursuant to an agreement with the firm. Exec.
Order No. 14244, 90 Fed. Reg. 13685, “Addressing Remedial Action by Paul Weiss,” (Mar. 21,
2025).
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                              INTERESTS OF AMICI CURIAE 2

       The American Civil Liberties Union (ACLU) is a nationwide, nonprofit organization that

since 1920 has sought to protect the civil liberties of all Americans. The ACLU of the District of

Columbia (ACLU-DC) is the ACLU’s Washington, D.C. affiliate. The ACLU and ACLU-DC have

frequently appeared in this Court, as counsel to parties or as amicus, in cases raising significant

questions about the meaning of the Constitution, its limitations on government power, and the

breadth of rights it grants. They have also participated as counsel or amici curiae in many

consequential First Amendment cases, including those involving retaliation and legal advocacy.

See, e.g., NRA v. Vullo, 602 U.S. 175 (2024) (counsel); Legal Services Corp. v. Velasquez, 531 U.S.

533 (2001) (amicus).

       The Cato Institute is a nonpartisan public-policy research foundation established in 1977

and dedicated to advancing the principles of individual liberty, free markets, and limited

government. Cato’s Robert A. Levy Center for Constitutional Studies was established in 1989 to

help restore the principles of limited constitutional government that are the foundation of liberty.

Toward those ends, Cato files amicus briefs, publishes books and studies, conducts conferences,

and produces the annual Cato Supreme Court Review.

       The Electronic Frontier Foundation (EFF) is a nonprofit legal organization that has

defended the rights of technology users in U.S. courts for almost 35 years. EFF’s impact litigation

includes numerous cases against the federal government challenging both legislative and executive

actions. EFF’s work is founded on the belief that lawsuits against the federal government are a

vital component of the system of checks and balances that undergirds American democracy.



2
   Pursuant to Local Civil Rule 7(o)(5), counsel for amici curiae certify that no counsel for a
party authored this brief in whole or in part, and no person other than amici curiae, their members,
or their counsel made a monetary contribution to the brief’s preparation or submission.
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        The Foundation for Individual Rights and Expression (FIRE) is a nonpartisan nonprofit

that defends the rights of all Americans to free speech and free thought—the essential qualities of

liberty. Since 1999, FIRE has successfully defended First Amendment rights on college campuses

nationwide through public advocacy, targeted litigation, and amicus curiae filings in cases that

implicate expressive rights. In June 2022, FIRE expanded its advocacy beyond the university

setting and now defends First Amendment rights both on campus and in society at large. In lawsuits

across the United States, FIRE works to vindicate First Amendment rights without regard to the

speakers’ views. Trump v. Selzer, No. 4:24-cv-449 (S.D. Iowa, filed Dec. 17, 2024); Volokh v.

James, No. 23-356 (2d Cir. argued Feb. 16, 2024); Novoa v. Diaz, No. 4:22-cv-324, ECF No. 44

(N.D. Fla., Nov. 17, 2022), pending appeal sub nom. Novoa v. Diaz, No. 22-13994 (11th Cir.

argued June 14, 2024); Netchoice, LLC v. Bonta, No. 22-cv-08861-BLF (N.D. Cal. Mar. 13, 2025)

(granting preliminary injunction); Villarreal v. Alaniz, __ US __ ,145 S. Ct. 368 (2024). As a free

speech organization whose litigators are of necessity adverse to government bodies in all branches

of government in the vast majority of their cases, often representing speakers with whom

government actors strongly disagree, it is imperative that FIRE remain free to zealously advocate

on behalf of its clients without fear of unconstitutional official reprisal or retaliation.

        The Institute for Justice (IJ) is a nonprofit public-interest law firm that litigates nationwide

on behalf of Americans’ most fundamental constitutional rights, among them the right to be free

from government retaliation for protected speech. IJ’s work on that front has led to important

victories, including the Supreme Court's decision last Term in Gonzalez v. Trevino, 602 U.S. 653

(2024). This case therefore squarely implicates IJ’s longstanding efforts to make it more difficult

for government officials to punish their political opponents. But this case also implicates IJ’s work

more broadly. IJ (like any other public-interest law firm) often angers government officials. Still,



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IJ needs access to government information (sometimes including sensitive information) for

litigation or to publish its groundbreaking strategic research. 3 IJ needs access to government

buildings and government officials, sometimes to advise those officials on how to reform policies

to better respect individual rights and sometimes to warn them of litigation if they fail to do so.

And IJ needs public-interest clients who are secure in the knowledge that they will not be targeted

just because they chose IJ to represent them in their suits against the government. The

government’s position in this case is that it can take all those things away if it dislikes a law firm’s

advocacy. To accept that position is to accept that the government can only be challenged by

lawyers it finds ideologically congenial—which is to say it cannot be challenged at all. IJ therefore

files this brief to help protect its own right to sue the government, even when the government

doesn’t like it.

         The Knight First Amendment Institute at Columbia University is a non-partisan, not-for-

profit organization that works to defend the freedoms of speech and the press in the digital age

through strategic litigation, research, and public education. The Institute’s aim is to promote a

system of free expression that is open and inclusive, that broadens and elevates public discourse,

and that fosters creativity, accountability, and effective self-government.

         The National Coalition Against Censorship (NCAC) is an alliance of more than 60 national

non-profit literary, artistic, religious, educational, professional, labor, and civil liberties groups.

NCAC was founded in 1974 in response to the United States Supreme Court’s landmark decision

in Miller v. California, 413 U.S. 15 (1973), which narrowed First Amendment protections for

sexual expression and opened the door to obscenity prosecutions. The organization’s purpose is to

promote freedom of thought, inquiry and expression and to oppose censorship in all its forms.



3
    See www.ij.org/research.
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NCAC engages in direct advocacy and education to support the free expression rights of activists,

students, teachers, librarians, artists, and others. It therefore has a longstanding interest in assuring

the continuance of robust free expression protections for all—which includes access to counsel

who can vindicate individual First Amendment rights. The positions advocated in this brief do not

necessarily reflect the views of NCAC’s member organizations.

        The Reporters Committee for Freedom of the Press is an unincorporated nonprofit

association. It was founded by leading journalists and media lawyers in 1970 when the nation’s

news media faced an unprecedented wave of government subpoenas forcing reporters to name

confidential sources. Today, its attorneys provide pro bono legal representation, amicus curiae

support, and other legal resources to protect First Amendment freedoms and the newsgathering

rights of journalists.

        The Rutherford Institute is a nonprofit civil liberties organization headquartered in

Charlottesville, Virginia. Founded in 1982 by its President, John W. Whitehead, the Institute

provides legal assistance at no charge to individuals whose constitutional rights have been

threatened or violated and educates the public about constitutional and human rights issues

affecting their freedoms. The Rutherford Institute works tirelessly to resist tyranny and threats to

freedom by seeking to ensure that the government abides by the rule of law and is held accountable

when it infringes on the rights guaranteed by the Constitution and laws of the United States.

        The Society for the Rule of Law Institute (SRLI) is a nonpartisan, nonprofit, social welfare

organization dedicated to the defense of the rule of law, the Constitution, and American

democracy. Its mission is to protect these essential features of American liberty against rising

threats posed by illiberal forces in society, without regard to political party or partisan affiliation.

This case is of central concern to SRLI because it implicates indispensable protections of our



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system of ordered liberty, specifically the Constitution's provision of separation of powers and the

First Amendment's guarantee of freedom of speech.

                                           ARGUMENT

       Amici write to address two basic points. First, Executive Order 14230, 90 Fed. Reg. 11781,

“Addressing Risks from Perkins Coie LLP” (Mar. 6, 2025) (the “Executive Order”)

unconstitutionally retaliates against Perkins Coie for its advocacy on behalf of private individuals

and organizations, in violation of the First Amendment. Both the Speech and Petition Clauses

protect lawyers’ advocacy on behalf of their clients against arbitrary or viewpoint-based

government interference. The sweeping and draconian sanctions imposed by the Executive

Order—including, among other things, the loss of access to federal facilities and federal

employees, the en masse suspension of security clearances for the firm’s lawyers, and an implicit

blacklist on the firm’s business with federal contractors—threaten to destroy Perkins Coie and

would chill any law firm from participating in similar advocacy against the Trump Administration

or its officials. And the Executive Order’s sanctions are explicitly premised on the firm’s protected

advocacy, including its voting rights lawsuits.

       Second, the Executive Order violates fundamental separation-of-powers principles by

striking at the bar’s independence. The judiciary depends on an independent bar to fulfill its

constitutional role as a bulwark against usurpations by the legislative and executive branches. By

chilling lawyers from engaging in zealous advocacy on behalf of clients adverse to the

Administration, the Executive Order not only infringes the protected speech and petitioning of

private parties, it also deprives courts of the expert counsel necessary, in our adversarial legal

system, for a full and fair adjudication of the most pressing constitutional and statutory issues. And

the Executive Order has dire immediate consequences for Perkins Coie’s clients, infringing their



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right to counsel under the Fifth and Sixth Amendments by arbitrarily prohibiting the firm’s lawyers

from using federal facilities, engaging with federal officials (including federal prosecutors), and

suspending security clearances necessary to work on matters involving classified information.

          “[W]here would such official bullying end, were it permitted to begin?” Backpage.com,

LLC v. Dart, 807 F.3d 229, 235 (7th Cir. 2015). This Court must strongly rebuke and permanently

enjoin the Administration’s unconstitutional attempt to punish Perkins Coie for its protected

advocacy and to intimidate other law firms and lawyers from taking on matters adverse to the

government.

    I.       The Executive Order Unconstitutionally Retaliates Against Perkins Coie for Its
             Legal Advocacy.

          “[T]he law is settled that as a general matter the First Amendment prohibits government

officials from subjecting an individual to retaliatory actions . . . for speaking out.” Hartman v.

Moore, 547 U.S. 250, 256 (2006); accord, e.g., Lozman v. City of Riviera Beach, 585 U.S. 87, 90

(2018). To make out a First Amendment retaliation claim, a plaintiff must show that: (i) it engaged

in constitutionally protected expression; (ii) defendants responded with an adverse action sufficient

to deter a person of ordinary firmness in the plaintiff’s position from speaking again; and (iii) there

is a causal connection between the plaintiff’s protected speech and the retaliatory actions taken

against it. Aref v. Lynch, 833 F.3d 242, 258 (D.C. Cir. 2016). Perkins Coie easily satisfies all three

factors in this case.

          First, the Constitution protects Perkins Coie’s legal advocacy on behalf of its clients. Such

advocacy is protected under both the Speech and Petition Clauses of the First Amendment. See

Borough of Duryea, Pa. v. Guarnieri, 564 U.S. 379, 387 (2011) (holding that the Petition Clause

protects access to federal courts, while acknowledging that the plaintiff “just as easily could have

alleged that his employer retaliated against him for the speech contained within his grievances and

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lawsuit.”). The analysis under either Clause, for purposes of Perkins Coie’s retaliation claim, is

substantially the same. See id. at 388 (holding that the framework for public employee retaliation

claims under the Speech Clause applies to similar claims raised under the Petition Clause) (“It is

not necessary to say that the two Clauses are identical in their mandate or their purpose and effect

to acknowledge that the rights of speech and petition share substantial common ground. This Court

has said that the right to speak and the right to petition are ‘cognate rights.’”) (quoting Thomas v.

Collins, 323 U.S. 516, 530 (1945)).

       As the Supreme Court recognized in Legal Services Corp. v. Velasquez, 531 U.S. 533

(2001), the First Amendment robustly protects legal advocacy against viewpoint-based

government censorship. There, plaintiffs challenged a statute prohibiting the use of federal Legal

Services Corporation funds in cases challenging federal statutes under the U.S. Constitution or

state statutes under federal law or the U.S. Constitution. Id. at 537. The Court held that lawyers’

advocacy on behalf of their nongovernmental clients is constitutionally protected speech,

regardless of who pays for it. See id. at 548–49. And it concluded that viewpoint-based restrictions

on such advocacy, even in the form of statutory restrictions on the use of legal services funds to

raise federal statutory and constitutional challenges in litigation, violate the First Amendment. Id.

(“Where private speech is involved, even Congress’ antecedent funding decision cannot be aimed

at the suppression of ideas thought inimical to the Government’s own interest.”).

       Second, the draconian sanctions imposed by the Executive Order would deter an ordinary

person in Perkins Coie’s position, i.e., other law firms, from engaging in similar advocacy in the

future. The Wall Street Journal reports that leading law firms are now afraid to challenge “a

president who hasn’t shied away from punishing his political enemies,” and “[a]dvocacy groups .

. . say it has been more difficult to recruit larger firms to help with cases against Trump . . . .” See



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Mem. in Supp. of Pl.’s Mot. for TRO Ex. 5, ECF No. 2-1. This response is not surprising. The

sanctions imposed by the Executive Order—including inter alia the loss of all security clearances,

the effective blacklisting of the firm by all federal contractors for even nongovernment work, and

the denial of access to federal facilities and federal employees—are nothing short of a death

sentence for any but the smallest and most local law firms. See Joint Anti-Fascist Refugee Comm.

v. McGrath, 341 U.S. 123, 143 (1951) (Black, J., concurring) (“[G]overnment blacklists” of

disfavored organizations “smack[] of a most evil type of censorship.”). The message to the bar is

unmistakable: Cross the Administration at your peril.

       Finally, while direct evidence of retaliatory animus is not required, BEG Invs., LLC v.

Alberti, 144 F. Supp. 3d 16, 22 (D.D.C. 2015), the causal connection between the Executive Order

and Perkins Coie’s protected advocacy is readily apparent on the Order’s face. It expressly

identifies the firm’s voting rights lawsuits as one of the principal grounds for imposing sanctions.

And the Fact Sheet further declares that the Executive Order puts the firm on a government-

sponsored    blacklist   for   its   “partisan   lawsuits    against   the   United   States.”   See

https://perma.cc/BB99-MXUS. This is a straightforward admission that the Executive Order was

predominantly motivated by the firm’s protected advocacy on behalf of its clients.

       The Executive Order’s characterization of Perkins Coie’s voting rights lawsuits as

“partisan” does not remove one iota of First Amendment protection. “[W]hatever may be or may

have been true of suits against government in other countries, the exercise in our own . . . of First

Amendment rights to enforce constitutional rights through litigation, as a matter of law, cannot be

deemed malicious.” NAACP v. Button, 371 U.S. 415, 439–40 (1963). To the contrary, the First

Amendment flatly prohibits the government from sanctioning law firms in order to punish and

deter legal advocacy on behalf of clients and causes disapproved by the Administration. See NRA



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v. Vullo, 602 U.S. 175, 180–81 (2024) (holding that the NRA stated a First Amendment claim based

on allegations that New York officials coerced financial services firms into blacklisting the NRA

and other gun-promotion groups).

      II.      The Executive Order Violates Separation of Powers and Due Process.

            The Executive Order’s retaliatory attack on Perkins Coie for the firm’s constitutionally

protected legal advocacy is not only a textbook First Amendment violation; it also threatens to

undermine the bar’s independence, violating basic separation-of-powers principles. The Framers

conceived of the courts as an “impenetrable bulwark against every assumption of power in the

Legislative or Executive.” 1 Annals of Cong. 439 (J. Madison) (Joseph Gales ed., 1834). See also

Marbury v. Madison, 1 Cranch 137, 177 (1803) (“It is emphatically the province and the duty of

the judicial department to say what the law is”). To play its role effectively, the bench depends on

the skill and integrity of the bar. In other words, “[a]n informed, independent judiciary presumes

an informed, independent bar.” Velasquez, 531 U.S. at 534. Courts cannot guard against the

usurpations of the other branches without the assistance of lawyers willing to challenge those

usurpations on their clients’ behalf.

            The American bar has earned its reputation for independence by standing ready to

challenge the government, even in the most controversial and high-profile matters. John Adams

famously boasted that his representation of British soldiers in the Boston Massacre prosecution

was “one of the best Pieces of Service I ever rendered my Country.” The Diary of John Adams,

March 5, 1773. 4 Clarence Darrow represented Eugene Debs, then the leader of the American

Railway Union, in his conspiracy prosecution for encouraging workers to strike in violation of a

federal court injunction. See In re Debs, 158 U.S. 564 (1895). Charles Hamilton Houston



4
    Available at https://perma.cc/SLA3-ATBJ.
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represented a Black man convicted of rape by an all-white jury. See Hollins v. Oklahoma, 295 U.S.

394 (1935). The law firm of Arnold, Fortas & Porter took on the cases of government employees

accused of Communist sympathies during the Second Red Scare. See Clay Risen, At a Time When

Lawyers Feared Defending Government Enemies, One Law Firm Stood Up, Politico (Mar. 26,

2025). 5 James Donovan defended accused Soviet spy Rudolf Abel in the Hollow Nickel case. See

Abel v. United States, 362 U.S. 217 (1960). 6 Constance Baker Motley defended Rev. Dr. Martin

Luther King, Jr. after he was arrested in Birmingham, Alabama. See Constance Baker Motley,

Supreme Court Historical Society. 7 Floyd Abrams represented the New York Times in challenging

the government’s attempt to suppress the publication of the Pentagon Papers on national security

grounds. See N.Y. Times Co. v. United States, 403 U.S. 713 (1971). And Edward Bennett Williams

represented Senator Joe McCarthy in censure proceedings before the U.S. Senate. See Albin Krebs,

Edward Bennett Williams, 68, Influential Trial Lawyer Dies; A Brilliant ‘Superlawyer,” N.Y.

Times (Aug. 14. 1988). 8

       Members of the bar uphold its best traditions when they provide zealous advocacy to clients

facing the full weight of the federal government. But justice would be poorly served if only the

exceedingly brave or the independently wealthy were willing to take such cases. Particularly in

complex, high-stakes cases, clients depend on their lawyers to orchestrate the evidence,

precedents, and arguments necessary to make the best submission on their behalf. But many firms

would sensibly decline to take any case, no matter how meritorious or significant, that presents

even a small risk of ruinous sanctions.




5
  Available at: https://perma.cc/A9QW-QYPB.
6
  The case was dramatized in the film “Bridge of Spies” (Steven Spielberg, 2015).
7
  Available at: https://perma.cc/S75C-R7HG.
8
  Available at: https://perma.cc/QN6J-RSPB.
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        This is what makes the Executive Order so pernicious to the separation of powers. “By

seeking to prohibit the analysis of certain legal issues and to truncate presentation to the courts,

the enactment under review prohibits speech and expression upon which courts must depend for

the proper exercise of the judicial power.” Velasquez, 531 U.S. at 545. If allowed to stand, the

Administration’s retaliatory attack on Perkins Coie will chill many law firms and lawyers from

taking on high-profile matters against the government—particularly pro bono matters defending

the civil and constitutional rights of ordinary individuals. See Mem. in Supp. of Pl.’s Mot. for TRO

Ex. 5 (noting that public interest groups are finding it increasingly difficult to convince firms to

undertake such cases). And if the President can destroy even a large, international firm like Perkins

Coie with the stroke of pen, the chilling effects on smaller firms and the bar at large will be even

more severe.

        Even in cases where lawyers take on a representation adverse to the government, the threat

of sanctions will chill them from taking positions or making arguments that offend the

Administration. This fundamental conflict of interest will “distort[] the legal system by altering

the traditional role of the attorneys” as zealous advocates for their clients. Velasquez, 531 U.S.

at 544. As a result, clients will mistrust their counsel’s loyalty, courts will confront case after case

where only one view—the Administration’s—is adequately and zealously represented, and the

public will lose faith in the integrity of the judicial process. See id. at 546 (“The courts and the

public would come to question the adequacy and fairness of professional representations when the

attorney, either consciously to comply with this statute or unconsciously to continue the

representation despite the statute, avoided all reference to questions of statutory validity and

constitutional authority.”).




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        The Executive Order also infringes Fifth and Sixth Amendment process rights. In the

criminal context, “[t]he right to select counsel of one’s choice . . . has been regarded as the root

meaning of the constitutional guarantee” under the Sixth Amendment. See United States v.

Gonzalez-Lopez, 548 U.S. 140, 147–48 (2006). This right both requires “a fair or reasonable

opportunity to obtain particular counsel,” and bars “arbitrary action prohibiting the effective use

of such counsel.” Cheek v. United States, 858 F.2d 1330, 1334 (8th Cir. 1988) (quoting United

States ex rel. Carey v. Rundle, 409 F.2d 1210, 1215 (3d Cir. 1969)). And in the civil context, the

interest in aid of counsel is a fundamental aspect of due process. See Doe v. District of Columbia,

697 F.2d 1115, 1119 (D.C. Cir. 1983) (“[E]very litigant has a powerful interest in being able to

retain and consult freely with an attorney.”). There, too, the government infringes “due process in

the constitutional sense” when it “arbitrarily” interferes with the attorney–client relationship.

Powell v. Alabama, 287 U.S. 45, 69 (1932).

        By obstructing Perkins Coie’s lawyers from entering federal buildings, using federal

facilities, and interacting with federal officials—including federal prosecutors, see Burman Decl.

¶ 26, ECF No. 2-2—the Executive Order arbitrarily prevents the firm from doing much of the work

incumbent on counsel, from negotiating with government attorneys to advocacy before regulatory

officials. The Executive Order’s disclosure provision requires the firm’s clients to divulge

confidential relationships as a condition of receiving government contracts. And its provision

stripping the firm’s lawyers of their security clearances prevents those attorneys from discharging

their duties in cases involving classified materials, giving the government an unfettered veto over

the selection of criminal defense counsel in such cases. If this governmental bullying goes

unchecked, the bar will swiftly lose its independence—to the detriment of litigants, courts, and

public trust in the judicial process.



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                                          CONCLUSION

        The Executive Order is an unconstitutional attempt to punish Perkins Coie for its protected

advocacy on behalf of its clients, and to intimidate other law firms from challenging the

Administration or its officials. For the reasons stated above, Amici respectfully submit that the

Court should grant Plaintiff’s motion for summary judgment.

DATE: April 2, 2025                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2025, I electronically filed the original of this brief with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all attorneys

of record by operations of the Court’s electronic filing system.

DATE: April 2, 2025                                /s/ Cecillia D. Wang
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